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                                   Exhibit Q
                 ANALYSIS OF SAVINGS OF CBA MODIFICATIONS
                                                                                                                                                  Draft – Subject to Material Change

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                       A             Summary of estimated cost savings from proposed CBA amendments                                                3




                       B             Assumptions used to estimate amended CBA savings                                                              4




                       C             Summary of proposed CBA amendments related to local labor laws                                                5




                       D             Summary of proposed CBA amendments related to workforce and personnel policies                                6




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          The Financial Management and Oversight Board for Puerto Rico and its advisors (the "Board") have prepared this report based upon
          information and material supplied by the Board, Board advisors, the Government of Puerto Rico (the "Government"), the Puerto Rico
          Electric Power Authority (“PREPA”) and other publicly available sources.

          The information in this report was performed only for the use and benefit of the Board and should not be used or relied on by anyone
          else. Other persons who read this report do so at their own risk and are not entitled to rely on it for any purpose. This report does not
          constitute any legal opinion or advice and is not being issued in connection with any issuance of debtor other financing transaction.
          The Board does not assume any duty, obligation or responsibility whatsoever to any other parties that may obtain access to the
          Report.

          The Board relied on information and underlying data provided by the Board, Board advisors, the Government, PREPA or publicly-
          available resources, and such information was presumed to be current, accurate and complete. The Board did not conduct an
          independent assessment or verification of the completeness, accuracy or validity of the information obtained. Consequently, the
          Board provides no assurance of any kind with respect to, or on, the information presented.

          The Board has the knowledge, experience and ability to form its own conclusions. Any assumptions, forecasts, projections,
          recommendations, conclusions or opinions contained in this report are solely those of the Board. Assumptions deemed reasonable
          for these estimates do not indicate whether another party would have selected the same assumption or methods. The use of other
          assumptions may also be reasonable and could produce different results.

          There will usually be differences between projected and actual results because events and circumstances frequently do not occur as
          expected and those differences may be material. As a result, no assurance regarding the achievement of forecasted results is
          provided, and reliance should not be placed on any forecasted results or projects contained herein as such information is subject to
          material change and may not reflect actual results. The Board takes no responsibility for the achievement of projected results.




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  A Summary of estimated savings to amend CBAs to Puerto
                                                                                                                                                                                                                                        Draft – Subject to Material Change
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           Rico labor laws and workplace optimization
                  The projected savings are based on financial, labor and employee assumptions in the PREPA 2022 Fiscal Plan and
                  PREPA FY2023 Budget certified June 30, 2022

            Breakdown of potential saving components                                                                                                     Annual
                                                                                                                                                          $000s
                                                                                                                                                                                ¢/kWh                      5-yr
            (1)      Reduce OT rate to 1.50x                                                                                                         $     2,633                 0.016¢             $ 13,163
            (2)      Reduce vacation accrual rate                                                                                                          2,278                 0.014¢                 11,391
            (3)      Reduce Christmas bonus to $600                                                                                                            996               0.006¢                    4,980
            (4)      Eliminate future accumulated sick time liquidation                                                                                        644               0.004¢                    3,220
            (5)      Reduce Holidays from 24 to 20                                                                                                             608               0.004¢                    3,038
            (6)      Eliminate discretionary bonus                                                                                                             431               0.003¢                    2,153
            (7)      Reduce sick time accrual rate                                                                                                             309               0.002¢                    1,545
            (8)      Eliminate productivity bonus                                                                                                              272               0.002¢                    1,362
                       Potential savings from labor laws (annual)                                                                                    $  8,170                    0.050¢             $ 40,850
            (9)      Modify Workday/Workweek (8 hr./40 hr.)                                                                                            1,266                     0.008¢                6,328
            (10)     Workplace efficiencies from workforce optimization                                                                                1,768                     0.011¢                8,841
            (11)     Increased UHC from $125 to $170                                                                                                     (269)                  (0.002¢)              (1,345)
                       Potential Labor Savings (annual)                                                                                              $ 10,935                    0.067¢             $ 54,675

   Source: PREPA 2022 Fiscal Plan, FY2023 Fiscal Budget, Act 66-2014, Act 3-2017, Act 8-2017, Act 26-2017

   Projected savings are incremental to projections to the extent PREPA has not adhered with all provisions of the emergency labor laws, other than Christmas Bonus which was not budgeted but reported as paid by PREPA in
   FY2022 (November 2021). Workplace flexibility initiatives include modifications to employee transfers, reassignment and relocation, rate and shift differentials, notice periods, waiting periods, and classification requirements
                                                                                                                                                                                                                                                   3
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  B Proposed amendments are projected to generate
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           incremental economic savings
         Breakdown of potential saving components
             (1)      Savings for reduced OT wages resulting from the reduction from 2.0x to 1.5x
             (2)      Savings from vacation accrual reduced to 1.25 days per month (2.5 to 1.25 days); avg. reduction 15 vacation days
             (3)      Impact of Christmas bonus at $600 per year from avg. of $1,600 per 13-wk Cash Flow
             (4)      Savings from the elimination of the ability to liquidate unused accrued sick time above the max carryover;
             (5)      Savings from the reduction of 4 Holidays down to the current 20 holidays provided by Act 26-2017
             (6)      Savings from the elimination of discretionary bonuses of UTIER: $600 per year and UEPI: $450 per year
             (7)      Savings from reduction in sick leave accrual rate for employees hired before/after Act 3-2017
             (8)      Savings elimination of bonuses under CBAs of UTIER: $400 per year
             (9)      Savings estimate from modifying the workday to 8 hrs. (from 7.5); work week increased to 40 hrs. (from 37.5)
             (10)     Savings estimate from workplace flexibility with a targeted 10% OT savings (target excludes pay rate and 8 hr. workday)
             (11)     Cost of UHC increase to $170 per year from $125 per Fiscal Plan to match with AFSCME PSA in Commonwealth POA

          Other Assumptions

            Primary legislation                              Act 66-2014, Act 3-2017, Act 8-2017, Act 26-2017
            Headcount                                        FY2023 Budget included 996 active FTEs; UTIER: 681 and UEPI: 48
            Average Salary                                   FY2023 Budget avg. salary of $39,404; UTIER: $35,404 and UEPI: $46,036
            Annual Overtime                                  2022 Fiscal Plan OT labor assumption of 20% of regular wages in FY2023

          The proposed amendments developed by FOMB and the Government would generate savings that could be redeployed to fund PREPA’s transformation
   Source: PREPA 2022 Fiscal Plan, FY2023 Fiscal Budget, Act 66-2014, Act 3-2017, Act 8-2017, Act 26-2017

   Projected savings are incremental to projections to the extent PREPA has not adhered with all provisions of the emergency labor laws, other than Christmas Bonus which was not budgeted but reported as paid by PREPA in
   FY2022 (November 2021). Workplace flexibility initiatives include modifications to employee transfers, reassignment and relocation, rate and shift differentials, notice periods, waiting periods, and classification requirements
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  C Summary of CBA economic rules to align employee
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            benefits with Puerto Rico labor laws and other provisions
                   Provisions                            UEPI                                                          UTIER                                                        Alignment to Act 26

                   Evergreen Clause                      • CBA will remain in force until a new                        • CBA will remain in force until a new                       • Eliminate provision
                                                           CBA is effective or signatory provides 6-                     CBA is effective or signatory provides 8-
                                                           month termination notice                                      month termination notice
                   Overtime Pay                          • Overtime in excess of 37.5 hours at 2.0x                    • Overtime in excess of 37.5 hours at 2.0x                   • Reduce OT rate to 1.5x the regular
                                                           the regular salary                                            the regular salary                                           salary/hourly rate


                   Vacation Leave                        • Accrued at 2½ days                                          • Accrued at 2½ days                                         • Accrued at 1¼ day/month; up to 60 days
                                                         • Accrue up to 30 days a year                                 • Accrue up to 30 days a year                                • Accrue up to 15 days a year
                                                         • Unused days are carried over or                             • Unused days are carried over or                            • Liquidated at retirement/termination
                                                           liquidated                                                    liquidated
                   Sick Leave                            • Accrue up to 19 days/yr. without                            • Accrue up to 19 days/yr. without                           • Accrue at 1 day or 1½ day/month
                                                           limitation                                                    limitation                                                   (based on start date); up to 90 days
                                                         • Over 90 days are liquidated                                 • Over 90 days can be liquidated                             • No liquidation

                   Holidays                              • 24 holidays (+1 in election year)                           • 24 holidays (+1 in election year)                          • Currently 20 CW holidays
                                                         • Paid at 2x the regular rate if employee                     • Paid at 2x the regular rate if employee                    • Paid at 1.5x regular salary/hourly rate
                                                           works                                                         works
                   Other Bonuses                         • Specific employees will receive bonus of                    • Specific employees will receive bonus of                   • Eliminate all bonuses per Act 26-2017
                                                           up to $450                                                    up to $600                                                   and FP other than Christmas bonus
                                                                                                                       • Productivity bonus of up to $400


                   Christmas Bonus                       • Bonus equivalent to 8% for the first                        • Bonus equivalent to 8% for the first                       • Bonus of $600 per year
                                                           $60K and 4% for any incremental salary                        $60K and 4% for any incremental salary


                                                                                                                                                                                                                                       5
Source: Collective Bargaining Agreement - Workers Union of the Electric Power and Irrigation Industry (UTIER, acronym in Spanish) and Puerto Rico Electric Power Authority (AEE, acronym in Spanish) dated August 24, 2008; and Collective
Bargaining Agreement - Union of Independent Professional Employees (UEPI) and Puerto Rico Electric Power Authority (AEE, acronym in Spanish) dated September 15, 2014
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  D Summary of CBA workforce and personnel policies to
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           increase staffing flexibility
                   Provisions                            UEPI                                                          UTIER                                                        Notes

                   Subcontracting                        • Subcontracting needs to be approved by                      • Subcontracting only allowed in                             • Provide staffing flexibility
                                                           the union                                                     emergency situations


                   Transfers                             • Transfer to another muni $575                               • Transfer to another muni $575                              • Provide staffing flexibility
                                                         • Transfer within the muni $350                               • Transfer within the muni $350

                   Complaint Resolution                  • All complaints, disputes, or claims are                     • All complaints, disputes, or claims are                    • Provide for pre-petition claim process
                                                           subject to arbitration                                        subject to arbitration



                   Workday                               • 37.5 hours a week (plus 1 hour lunch)                       • 37.5 hours a week (plus 1 hour lunch)                      • Provide staffing flexibility




                   Vacant / New Positions                • Most qualified employee to be prioritized                   • 8-step process to determine qualified                      • Provide staffing flexibility
                                                                                                                         employee

                   Employment                            • If a department is reduced, preference                      • If a workstream is suspended, affected                     • Provide staffing flexibility
                   Stabilization                           shall be given to remain to employees                         employees will be prioritized to fill
                                                           with more seniority                                           vacancies




                                                                                                                                                                                                                                       6
Source: Collective Bargaining Agreement - Workers Union of the Electric Power and Irrigation Industry (UTIER, acronym in Spanish) and Puerto Rico Electric Power Authority (AEE, acronym in Spanish) dated August 24, 2008; and Collective
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